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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                  No. 4:08CR00054-01 JLH

ANTONIO TOREL PERSON                                                               DEFENDANT


                                            ORDER

       Court convened for the jury trial of this matter on Monday, February 1, 2010. Prior to voir

dire, the government moved to dismiss Count 3 of the Indictment as to defendant Antonio Torel

Person. Without objection the motion is granted, and Count 3 of the Indictment is hereby dismissed.

       IT IS SO ORDERED this 1st day of February, 2010.




                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
